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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

UNITED STATES OF AMERICA
                                             No. 23 CR 375
             v.
                                             Judge Martha M. Pacold
ANTHONY PRISCO

                           JOINT STATUS REPORT

      The United States of America, by MORRIS PASQUAL, Acting United States

Attorney for the Northern District of Illinois, jointly with defense counsel for

defendant ANTHONY PRISCO, hereby submit this status report.

      1.    On August 10, 2023, discovery was provided to defense counsel.

      2.    On October 4, 2023, a preliminary Guidelines calculation letter was sent

            to defense counsel.

      3.    Defendant and his counsel are reviewing discovery and the Guidelines

            calculation and need additional time to finish their review.

      4.    The parties request another status in 60 days.




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      5.    Defendant agrees to the exclusion of time through the date of the new

            status.

                                     Respectfully submitted,

                                     MORRIS PASQUAL
                                     Acting United States Attorney


                               By:   /s/ Simar Khera
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